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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TENNESSEE
                                    Western Division

UNITED STATES OF AMERICA

-vs-                                                         Case No. 2:22-cr-20273-TLP-2

KIMBERLY NICHOLE BLACKWELL,




                   ORDER APPOINTING COUNSEL PURSUANT TO
                         THE CRIMINAL JUSTICE ACT

       This Court has determined that the above-named defendant is financially unable to obtain adequate

representation in the above-styled case and is otherwise qualified for appointment of counsel.

Accordingly, the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. '

3006A):

                                 APPOINTMENT OF COUNSEL

       $       The Federal Public Defender is appointed as counsel for the Defendant.


                                   TYPE OF APPOINTMENT

       $       All purposes including trial and appeal.

       DONE and ORDERED in 167 North Main, Memphis, this 5th day of January 2023.



                                               s/ Tu M. Pham
                                               TU M. PHAM
                                               UNITED STATES MAGISTRATE JUDGE

Copies furnished to:
United States Attorney
United States Marshal
Pretrial Services Office
Assistant Federal Public Defender
Intake
